Case 9:13-cv-80254-KLR Document 56 Entered on FLSD Docket 10/16/2013 Page 1 of 12




                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                               Case No. 13-80254-CIV-RYSKAMP/HOPKINS

  AFFORDABLE AERIAL PHOTOGRAPHY, INC.,

            Plaintiff,

  v.

  MICHAEL NICKLAUS and
  GOLDEN BEAR REALTY LLC,

        Defendants.
  ________________________________________/

                          ORDER ON MOTION FOR PROTECTIVE ORDER

            THIS CAUSE comes before the Court pursuant to Defendant Golden Bear Realty

  LLC’s (“Golden Bear”) amended motion for protective order, filed August 19, 2013 [DE 28].

  Plaintiff Affordable Aerial Photography, Inc. (“AAF”) responded August 21, 2013 [DE 30].

  Golden Bear replied August 28, 2013 [DE 34]. This motion is ripe for adjudication.1


                                             I.        BACKGROUND

            AAP employs Robert Stevens, a respected real estate photographer of upscale residences.

  Golden Bear is a local real estate broker that allegedly infringed Plaintiff’s copyrighted

            1
              Golden Bear indicated in its filings that it anticipated filing a discovery motion in relation to AAP’s
  interrogatories. Golden Bear requested that the deposition of its corporate representative not occur until this motion
  and the anticipated motion were resolved. The Court indicated via endorsed order dated August 29, 2013 that it
  desired to resolve Golden Bear's motion for protective order and anticipated motion regarding AAP’s interrogatories
  in tandem and that the deposition of Golden Bear's corporate representative should not occur after the Court rules on
  the motion for protective order and the anticipated motion relating to AAF’s interrogatories. The Court has been
  awaiting Golden Bear’s motion regarding AAF’s interrogatories, but not motion has been forthcoming. Unwilling to
  wait indefinitely for the motion and seeing no reason for delay, the Court proceeds to adjudicate Golden Bear’s
  motion for protective order. The parties may schedule the deposition of Golden Bear’s corporate representative as
  they see fit.
Case 9:13-cv-80254-KLR Document 56 Entered on FLSD Docket 10/16/2013 Page 2 of 12




                                                                                                                                2

  photographs by posting them, without authorization, in its real estate listings, on its website, in

  social media, and by removing the copyright notices from AAP’s photographs. Each offence

  violates the Copyright Act.

           AAP seeks to depose Golden Bear under Fed. R. Civ. P. 30(b)(6) on topics that relate to

  Golden Bear’s internet marketing and advertising activities including its use of photographs in its

  real estate marketing. AAP intends to question Golden Bear about the properties for which

  AAP’s photographs were used without authorization, Golden Bear’s sources of photographs for

  its real estate listings (both authorized and unauthorized), and Golden Bear’s editing or alteration

  of photographs. AAP also seeks information regarding additional instances of copyright

  infringement of AAP’s photographs that Golden Bear committed prior to and since the filing of

  the Complaint in this action.


                                             II.        LEGAL STANDARD

           “Parties may obtain discovery regarding any nonprivileged matter that is relevant to any

  party’s claim or defense--including the existence, description, nature, custody, condition, and

  location of any documents or other tangible things and the identity and location of persons who

  know of any discoverable matter.” Fed.R.Civ.P. 26(b)(1). Courts construe this language to

  permit “open disclosure of all potentially relevant information.” Burns v. Thiokol Chemical

  Corp., 483 F.2d 300, 307 (5th Cir. 1973).2 The scope of discovery is limited, however. The

  information sought must be relevant and not overly burdensome to the responding party.

  Washington v. Brown & Williamson Tobacco Corp., 959 F.2d 1566, 1570 (11th Cir. 1992)


           2
               Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981) made binding on the Eleventh Circuit all decisions
  of the Fifth Circuit decided prior to September 30, 1981.
Case 9:13-cv-80254-KLR Document 56 Entered on FLSD Docket 10/16/2013 Page 3 of 12




                                                                                                       3

  (citing Trevino v. Celanese Corp., 701 F.2d 397, 406 (5th Cir. 1983)). Discovery should be

  tailored to the issues involved in the particular case. Id. Local Rule 26.1(g)(3)(A) requires that

  all grounds for objections to discovery be stated with specificity. Local Rule 26.1(g)(3)(A) also

  provides that “[a]ny grounds not stated in an objection [to a discovery request] within the time

  provided by the Federal Rules of Civil Procedure, or any extension thereof, shall be waived.”


                                      III.       DISCUSSION

         The Court will address each area of inquiry individually.

  A.     Area of Inquiry 1: Internet advertising and marketing for GOLDEN BEAR
         REALTY, LLC during the three years prior to the filing of the complaint in this
         action.

                 Protection Sought: Golden Bear seeks to limit the scope to internet
                 advertising and marketing related to the “Works” identified in the
                 Amended Complaint and to information that is not confidential,
                 proprietary or a trade secret and narrow the time from three years
                 to January 1, 2012 to the date of the filing of the Complaint.

                 AAP’s Response in Opposition: The discovery requested is
                 relevant and likely to lead to the discovery of admissible evidence,
                 and Golden Bear has not demonstrated good cause for protection.
                 AAP requested information for three years prior to filing the
                 complaint in this action because the statute of limitations for
                 copyright infringement is three years. 17 U.S.C. § 507(b).
                 In response, Golden Bear has chosen an arbitrary date and failed to
                 justify its requested restriction on discovery. Golden Bear has
                 offered no evidence of harm, annoyance, embarrassment,
                 oppression, or undue burden or expense associated with the time
                 frame chosen, and no such harm exists here.

         Golden Bear says its website was not active until June 2012, but Golden Bear has offered

  no declarations or other admissible evidence as to the date its website was established. Indeed,

  in its reply, Golden Bear admits that an active website existed prior to that date. Furthermore,
Case 9:13-cv-80254-KLR Document 56 Entered on FLSD Docket 10/16/2013 Page 4 of 12




                                                                                                         4

  regardless of when the website was established, AAP may discover whether its photographs

  taken at any time might have been posted there without AAP’s permission.

         Moreover, by raising the affirmative defense of “unclean hands,” Golden Bear has placed

  its own conduct at issue. AAP is entitled to inquire whether Golden Bear committed copyright

  violations by copying photographs without the copyright holders’ permission in the course of its

  internet advertising and marketing. Since a party seeking equity cannot come into court with

  unclean hands, AAP may seek discovery of Golden Bear’s conduct not only as to AAP but also

  as to other copyright holders.

         Finally, no justification has been provided for Golden Bear’s assertion that this area of

  inquiry would lead to the disclosure of confidential, proprietary or trade secret information. It is

  unfathomable how Golden Bear’s internet marketing and advertising, exposed to the public on

  the world wide web, could be considered confidential. No protective order is granted as to this

  area of inquiry.


  B.     Area of Inquiry 2: The use of photographs in real estate listings by GOLDEN BEAR
         REALTY, LLC during the three years prior to the filing of the complaint in this
         action.

                 Protection Sought: Golden Bear seeks to limit the scope to the
                 alleged use of the Works and to information that is not
                 confidential, proprietary or a trade secret and narrow the time from
                 three years to January 1, 2012 to the date of the filing of the
                 Complaint.

                 AAP’s Response in Opposition: MLS listings typically contain at
                 least one, and sometimes several, photographs of the interior and
                 exterior of the property offered for sale, and these photographs are
                 often taken by professional photographers. Widely publicized
                 studies have shown that homes sell better when they have listing
                 photos taken by a professional photographer. Studies have also
Case 9:13-cv-80254-KLR Document 56 Entered on FLSD Docket 10/16/2013 Page 5 of 12




                                                                                       5

                 shown that adding additional photographs to a listing increases the
                 price that can be obtained for the property.
         The allegations in the Amended Complaint include two properties wherein Golden Bear

  allegedly committed copyright infringement by using AAP’s photographs in their listings

  submitted to a multiple listing service (“MLS”) without AAP’s authorization. Since the filing of

  the Amended Complaint, AAP has identified another real estate listing where photographs

  belonging to AAP were used by Golden Bear without permission.

         The only difference between this area of inquiry and the first is that this area is specific to

  real estate listings as opposed to internet marketing and advertising. Otherwise, the reasons why

  the motion should be denied are the same and as those advanced concerning the first area of

  inquiry. The discovery requested is relevant and likely to lead to the discovery of admissible

  evidence. Golden Bear has not demonstrated good cause for protection. The motion for

  protective order is denied as to this area of inquiry.


  C.     Area of Inquiry 3: The development and maintenance of all GOLDEN BEAR
         REALTY, LLC web sites during the three years prior to the filing of the complaint
         in this action.

                 Protection Sought: Golden Bear seeks to limit the scope to the
                 development and maintenance related to the “Works” and to
                 information that is not confidential, proprietary or a trade secret
                 and narrow the time from three years to January 1, 2012 to the date
                 of the filing of the Complaint.

                 AAP’s Response in Opposition: The allegations in the Amended
                 Complaint include 19 photographs that Golden Bear used without
                 authorization on its website. Subsequently, AAP found more of its
                 photographs posted on Golden Bear’s website without AAP’s
                 permission.

  This area of inquiry is again, essentially that same as the first area of inquiry, and the reasons
Case 9:13-cv-80254-KLR Document 56 Entered on FLSD Docket 10/16/2013 Page 6 of 12




                                                                                                    6

  the motion should be denied as to this area are also the same. The discovery requested is relevant

  and likely to lead to the discovery of admissible evidence, and Golden Bear has not demonstrated

  good cause for protection.


  D.     Area of Inquiry 4: The relationship with internet advertising and marketing service
         providers to GOLDEN BEAR REALTY, LLC during the three years prior to the
         filing of the complaint in this action.


                 Protection Sought: Golden Bear seeks to limit Plaintiff from asking
                 questions regarding the subject of this Area of Inquiry and
                 regarding information that is confidential, proprietary or a
                 trade secret, or to at least clarify what specific information is
                 sought as the area of inquiry is vague.

                 AAP’s Response in Opposition: Golden Bear’s relationship with
                 internet advertising and marketing service providers is highly
                 relevant to the allegations of infringement and Golden Bear’s
                 affirmative defenses. Golden Bear’s objection that AAP is trying
                 to “find third-parties to assert claims against” is not a valid basis to
                 limit discovery, even if it were true. And besides, if there are third
                 parties that Golden Bear knows about who also infringed, AAP is
                 entitled to know who they are and what they did that violated its
                 copyrights.

         Golden Bear has asserted a defense that acts complained of, and the resulting harm, were

  acts of third-parties over whom it had no control and no right to supervise. Having made the

  conduct of third-parties an issue and having asserted the absence of a right to control those

  parties, Golden Bear cannot complain when asked to testify about the relationship with these

  parties. While “vagueness” may be appropriate for an objection to a specific question, Golden

  Bear has not demonstrated an inability to present a witness to testify on the designated topic.

         Golden Bear again provides no details to support its assertion that this area of inquiry

  would lead to the disclosure of confidential, proprietary or trade secret information. No
Case 9:13-cv-80254-KLR Document 56 Entered on FLSD Docket 10/16/2013 Page 7 of 12




                                                                                                       7

  particularized showing of “good cause” as to what confidential information might be disclosed is

  offered. No specific harm that would result from disclosure or loss of confidentiality is offered.

  The motion for protective order as to this area of inquiry is denied.


  E.     Area of Inquiry 5: The sale of properties depicted in the Works attached to the
         complaint.

                 Protection Sought by Golden Bear: Golden Bear seeks to limit
                 Plaintiff from asking questions regarding the subject of this Area of
                 Inquiry.

                 AAP’s Response in Opposition: Golden Bear seeks to exclude all
                 testimony on this subject. Golden Bear’s basis is that it believes
                 that under no circumstances may AAP be entitled to recover
                 anything other than a reasonable licensing fee as damages.

         A copyright owner’s claim for damages is not limited to a reasonable licensing fee:

         Actual Damages and Profits. — The copyright owner is entitled to recover the actual
         damages suffered by him or her as a result of the infringement, and any profits of the
         infringer that are attributable to the infringement and are not taken into account in
         computing the actual damages. In establishing the infringer's profits, the copyright owner
         is required to present proof only of the infringer's gross revenue, and the infringer is
         required to prove his or her deductible expenses and the elements of profit attributable to
         factors other than the copyrighted work.

  17 U.S.C. § 504(b) (emphasis added). Based on the plain language of § 504(b), AAP can recover

  not only actual damages, but also Golden Bear’s profits attributable to the infringement.

  Whether Golden Bear’s sale of any properties is attributable to the infringement of AAP’s

  photographs is discoverable.


  F.     Area of Inquiry 6: The posting, editing or alteration of photographs to GOLDEN
         BEAR REALTY, LLC websites during the three years prior to the filing of the
         complaint in this action.

                 Protection Sought: Golden Bear seeks to limit the scope to its
Case 9:13-cv-80254-KLR Document 56 Entered on FLSD Docket 10/16/2013 Page 8 of 12




                                                                                         8

                 alleged posting, editing or altering the Works and to information
                 that is not confidential, proprietary or a trade secret and narrow the
                 time from three years to January 1, 2012 to the date of the filing of
                 the Complaint.

                 AAP’s Response in Opposition: The alteration of photographs
                 posted on the public Internet cannot possibly be confidential. In
                 addition, for the same reasons as area of inquiry number 1 above
                 concerning internet marketing and advertising, and area of inquiry
                 number 3 above concerning the development and maintenance of
                 web sites, the time frame designated is proper and the discovery
                 requested is relevant and likely to lead to the discovery of
                 admissible evidence. Golden Bear has not demonstrated good
                 cause for protection, and the motion should be denied.


  Golden Bear provides no details to support its assertion that this area of inquiry would require the

  disclosure of confidential, proprietary or trade secret information. Whether Golden Bear posted,

  edited or altered photographs on its website, whether the photographs are the property of AAP or

  another entity, is relevant to the claims at issue in this action. The motion for protective order is

  denied as to this area of inquiry.


  G.     Area of Inquiry 8: Your policies and procedures for using photographs in listings.

                 Protection Sought: Golden Bear seeks to only provide information
                 to this area of inquiry subject to a confidentiality order limited to
                 “attorneys' eyes only.”

                 AAP’s Response in Opposition: Golden Bear says that disclosure
                 of the information requested without “such a confidentiality
                 restriction could lead to Golden Bear's competitors
                 obtaining/receiving the information and using it to their
                 advantage.” No reasons how or why this disclosure could occur
                 have been offered. Any competitor can look at what Golden Bear
                 does on the public Internet and see how it uses photographs.
                 Furthermore, since AAP’s business is photography, not selling real
                 estate, it is hard to imagine why an “attorney’s eyes only”
                 confidentiality order is necessary. In any event no justification for
Case 9:13-cv-80254-KLR Document 56 Entered on FLSD Docket 10/16/2013 Page 9 of 12




                                                                                         9

                 restricting information to an “attorney’s eyes only” basis has been
                 provided. As a result, there is no basis upon which the
                 Court can enter a protective order.

         Golden Bear’s policies and procedures for using photographs in its real estate listings is

  relevant to the claims at issue in this matter. As far as Golden Bear’s claims of confidentiality

  go, any member of the general public can view Golden Bear’s listings and thereby see how it

  uses its photographs. The motion for protective order is denied as to this area of inquiry.


  H.     Area of Inquiry 9: Your policies and procedures for using photographs on web
         pages.

                 Protection Sought: Golden Bear seeks to only provide information
                 to this area of inquiry subject to a confidentiality order limited to
                 “attorneys' eyes only.”

                 AAP’s Response in Opposition: Again, no basis for the requested
                 confidentiality restriction has been offered. The reasons why the
                 motion should be denied are the same and so for the reasons
                 advanced concerning area of inquiry number 8 above, Golden Bear
                 has not demonstrated good cause for protection, and the motion
                 should be denied. As a result, there is no basis upon which the
                 Court can enter a protective order.

         Golden Bear’s policies and procedures for using photographs on its website is relevant to

  the claims at issue in this matter. As far as Golden Bear’s claims of confidentiality go, any

  member of the general public can view Golden Bear’s website and thereby see how it uses its

  photographs. The motion for protective order is denied as to this area of inquiry.


  I.     Area of Inquiry 10: Your policies and procedures for using photographs on
         Facebook.

                 Protection Sought: Golden Bear seeks to only provide information
                 to this area of inquiry subject to a confidentiality order limited to
                 “attorneys' eyes only.”
Case 9:13-cv-80254-KLR Document 56 Entered on FLSD Docket 10/16/2013 Page 10 of 12




                                                                                     10


                  AAP’s Response in Opposition: No basis for the requested
                  confidentiality restriction has been offered. The reasons why the
                  motion should be denied are the same and so for the reasons
                  advanced concerning area of inquiry number 8 above, Golden Bear
                  has not demonstrated good cause for protection, and the motion
                  should be denied. As a result, there is no basis upon which
                  the Court can enter a protective order.

          Golden Bear’s policies and procedures for using photographs on Facebook is relevant to

   the claims at issue in this matter. As far as Golden Bear’s claims of confidentiality go, any

   member of the general public can view Golden Bear’s Facebook page and thereby see how it uses

   its photographs. The motion for protective order is denied as to this area of inquiry.


   J.     Area of Inquiry 11: Your relationship with Regional Multiple Listing Service of
          Florida (“RMLS”) and any other multiple listing services that you are a member of.

                  Protection Sought: Golden Bear seeks to limit Plaintiff from asking
                  questions regarding this Area of Inquiry or to narrowly limit the
                  scope of questions to the actual claim in the instant action.

                  AAP’s Response in Opposition: “A multiple listing service is a
                  common database where member companies submit listings to
                  facilitate the exchange of information about one another's
                  listings so agents can cross company lines to sell one another's
                  houses and can show clients all houses on the market, not just
                  those homes listed with their own company.” Mid-America Real
                  Estate Co. v. Iowa Realty Co., No. 4:04-CV-10175, 2004 U.S.
                  Dist. LEXIS 10155, 2004 WL 1280895, at *2 (S.D. Iowa 2004).

          The allegations in the amended complaint include two properties wherein Golden Bear

   committed copyright infringement by using AAP’s photographs in their listings submitted to

   MLS without AAP’s authorization. RMLS has twice notified Golden Bear of MLS rule

   violations as a result of its infringing conduct and removed the infringing photographs from

   Golden Bear listings. AAP is entitled to information about Golden Bear’s relationship with
Case 9:13-cv-80254-KLR Document 56 Entered on FLSD Docket 10/16/2013 Page 11 of 12




                                                                                                    11

   RMLS and other MLS’s to determine what, if any, consequences Golden Bear may have

   suffered, what contractual obligations, if any, Golden Bear may have violated, and similar areas

   of inquiry.

          Moreover, by raising the affirmative defense of “unclean hands,” Golden Bear has placed

   its own conduct at issue. AAP may inquire whether Golden Bear committed copyright violations

   on other MLS systems.

          Finally, Golden Bear’s relationship with RMLS and other MLS systems is relevant to the

   affirmative defense that the acts complained of, and the resulting harm, were acts of third-parties

   over whom Defendant had no control and no right to supervise. Golden Bear therefore may not

   complain when asked to testify about the relationship with third parties, i.e.¸ MLS providers. No

   protective order is granted as to this area of inquiry.


   K.     Area of Inquiry 12: Your use of IDEX feeds.

                  Protection Sought: Golden Bear seeks to limit Plaintiff from asking
                  questions regarding this Area of Inquiry or to narrowly limit the
                  scope of questions to the actual claim in the instant action.

                  AAP’s Response in Opposition: An MLS provides an Internet Data
                  Exchange (IDEX) feed to subscribers who wish to display MLS
                  listings on their websites. Golden Bear subscribes to at least one
                  IDEX feed which it uses to display real estate listings on its
                  website. IDEX provides Golden Bear with access to on-line listing
                  data including photos. The listing is sent electronically in a
                  manner referred to as a “feed.”

          Golden Bear’s use of IDEX feeds is relevant for the same reason that Golden Bear’s

   relationship with internet advertising and marketing service providers is relevant to allegations of

   infringement and Golden Bear’s affirmative defenses.
Case 9:13-cv-80254-KLR Document 56 Entered on FLSD Docket 10/16/2013 Page 12 of 12




                                                                                                     12

          Moreover, this request is not “vague.” In fact, it is quite specific. There are vendors that

   provide IDEX feeds to websites, or a company like Golden Bear can obtain the feed directly

   from an MLS. Nowhere does Golden Bear allege that it cannot provide a witness on how it uses

   IDEX feeds.


                                       IV.      CONCLUSION

          THE COURT, having considered the pertinent portions of the record and being otherwise

   fully advised, hereby

          ORDERS AND ADJUDGES that the amended motion for protective order, filed August

   19, 2013 [DE 28], is DENIED. No sanctions will issue in relation to this motion.

          DONE AND ORDERED at Chambers in West Palm Beach, Florida, this 15th day of

   October, 2013.


                                                 S/Kenneth L. Ryskamp
                                                 KENNETH L. RYSKAMP
                                                 UNITED STATES DISTRICT JUDGE
